  1
  2
  3
  4
  5
  6
  7
  8
  9
 10                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
 11
 12   In re:                                          )   No. 21-41090
                                                      )
 13   STEPHEN ATES,                                   )   ORDER ON MOTION TO APPROVE SALE
                                                      )   OF PROPERTY FREE AND CLEAR OF
 14                                                   )   LIENS PURSUANT TO 11 U.S.C. § 363 (f)
                                     Debtor.          )
 15
                                                      )
 16
               THIS MATTER having come regularly before the Honorable Mary Jo Heston of the
 17
      above entitled Court upon the Trustee’s Motion to Approve Sale of Property Free and Clear of
 18
 19   Liens Pursuant to 11 U.S.C. § 363 (f), it appearing that all interested parties have received notice

 20   and no objection to the motion having been filed, or said objection having been incorporated into
 21
      the terms of this order, now therefore
 22
               IT IS HEREBY ORDERED that the Trustee, Kathryn A. Ellis, is authorized to sell the
 23
      estate’s interest in the real property located at 60 ne Lake Drive, Tahuya, WA, for the sum of
 24
 25   $700,000.00, to Michael and Pamela Howard, and/or assigns.

 26            IT IS FURTHER ORDERED that the Purchase and Sale Agreement between the Trustee
 27
                                                                                KATHRYN A. ELLIS PLLC
 28                                                                                     5506 6th Ave S
                                                                                           Suite 207
      ORDER ON MOTION TO APPROVE SALE OF PROPERTY                                     Seattle, WA 98108
      FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 1                      (206) 682-5002


Case 21-41090-MJH        Doc 92-1      Filed 03/18/22     Ent. 03/18/22 13:00:47       Pg. 1 of 3
  1   and Michael and Pamela Howard and/or assigns, shall be and is hereby approved.
  2
             IT IS FURTHER ORDERED that after payment of all costs of closing, including real
  3
      estate commissions, property taxes, excise taxes, statutory utility and/or HOA liens, and other
  4
      closing costs, the estate is authorized to pay at closing the first position Deed of Trust of
  5
  6   Timberland Bank, in full in the amount of approximately $201,420.47 plus interest, or such sum

  7   as may be negotiated or adjusted to accomplish a sale.
  8          IT IS FURTHER ORDERED that the estate is authorized to pay the tax lien of the
  9
      Internal Revenue Service in the amount of $74,059.24, plus interest.
 10
             IT IS FURTHER ORDERED that the estate is authorized to pay the Writ of Attachment
 11
 12   in favor of Laurel and William Gibson in the amount of $187,500.

 13          IT IS FURTHER ORDERED that the sum of $40,000 will be held by the estate

 14   earmarked for cost of administration expenses, and the sum of $50,000 earmarked for
 15
      distribution to unsecured creditor.
 16
             IT IS FURTHER ORDERED that, at closing, the Trustee shall be and is hereby
 17
      authorized to pay the remaining balance, which the debtor accepts as his full claim of exemption
 18
 19   pursuant to RCW §§ 6.13.010, 6.13.020, and 6.13.030, estimated in the amount of $91,020.29;

 20   provided such amount shall be paid to divorce counsel for the debtor to be held in trust pending
 21
      determination of entitlement to the same.
 22
             IT IS FURTHER ORDERED that necessary costs of closing, including real estate
 23
      commissions, property taxes, excise taxes, statutory utility and/or HOA liens, and other closing
 24
 25   costs shall be and are hereby approved and may be paid from the proceeds of sale.

 26          IT IS FURTHER ORDERED that said sale will be free and clear of all liens and interests,
 27
                                                                                  KATHRYN A. ELLIS PLLC
 28                                                                                       5506 6th Ave S
                                                                                             Suite 207
      ORDER ON MOTION TO APPROVE SALE OF PROPERTY                                       Seattle, WA 98108
      FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 2                        (206) 682-5002


Case 21-41090-MJH         Doc 92-1     Filed 03/18/22      Ent. 03/18/22 13:00:47       Pg. 2 of 3
  1   said liens and interests to attach to the proceeds of the sale.
  2
                 IT IS FURTHER ORDERED that this Order shall be effective immediately
  3
      notwithstanding the provisions of FRBP 6004 (h).
  4
                                                                ///End of Order///
  5
  6
      Presented by:
  7
  8   /s/ Kathryn A. Ellis
  9   Kathryn A. Ellis, WSBA #14333
      Attorney for Trustee
      P:\OneDrive - Kathryn A Ellis\Shared\KAE\Dox\TRUSTEE\Ates\sale_ord.wpd
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
                                                                                                 KATHRYN A. ELLIS PLLC
 28                                                                                                       5506 6th Ave S
                                                                                                             Suite 207
      ORDER ON MOTION TO APPROVE SALE OF PROPERTY                                                       Seattle, WA 98108
      FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363 (f) - 3                                        (206) 682-5002


Case 21-41090-MJH                 Doc 92-1           Filed 03/18/22            Ent. 03/18/22 13:00:47   Pg. 3 of 3
